IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ALASKA

THOMAS M. RILEY,

Plaintiff,

 

-VS -

MEGAN J. BRENNAN, Postmaster General,
United States Postal Service,

SNA-Cy- CCOY4 Y-TMB
Defendant.

COMPLAINT

COMES NOW, the plaintiff, Thomas M. Riley, as pro se, bereby
submits this complaint under the Federal Tort Claim Act ("PTCA")
pursuant to 28 U.S.C. § 1346(b)(1), and 28 U.S.C. §§ 2680€b)
and (hb), against Megan J. Brennan, Postmaster General, United
States Postal Service in ber official capacity alleging that
an erroneous miscalculation of postage fees necessary for delivery
of a letter plaintiff submitted to institutional mailroom for
delivery to the district court was returned to bim which resulted
in missing a court filing deadline and an order dismissing the
case for failure to prosecute. He request $13,000,000.00 in damages.

JURISDICTION

This court bas subject-matter jurisdiction over this matter
pursuant to the Federal Tort Claim Act ("FTCA"), which provides
subject-matter jurisdiction under 28 U.S.C. § 1346(b)(1). The

FICA wavies the federal government's sovereign immunity, which

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otherwise would probibit state-law tort suits against the federal
government. see, United States v Dalm, 494 U.S. 596, 608, 110
S.Ct. 1361, 108 L.Ed.2d. 548 (1998) (discussing federal sovereign
immunity). The FTCA does not entirety waive the federal government's
sovereign immunity. Specifically, 28 U.S.C. § 2680(b) and (b);
deprives district courts of jurisdiction over those types of
claims. §(b) forecloses, "CaIny claim arising out of the. loss,
miscarriage, or negligent transmission of letter or postal matter."
28 U.S.C. § 2680(b). §(b) forecloses "Talny claim arising out
of...misrepsresentation..." 28 U.S.C. § 2680(b). In the instant
case, plaintiff argues that bis claim does not fall within either
of these exceptions and the court bas subject-matter jurisdiction
over this matter. Here is bow be comes to this conclusion.

- First, this claim stems from the return to bim by the United
States Postal Service of a letter that be sent to the United
States District Court, a letter that, when returned, bore writing
saying, "postage due return to sender," which meant that the
letter was being returned to him because of insufficient postage
fees necessary for delivery. He argues that § 2680(b) does not
apply because bis clafm arises from miscalculated postage fees
which led to the plaintiff missing a court filing deadline. see,
Barbieri v Hartsdale Post Office, 856 F.Supp 817, 818 (S-D.N.Y.
1994)(barm flowed from an allegdly erroneous postmark which led

to a tax penalty). Thus, a claim based not on damages to the
contents of an envelope or package but only to markings on the
exterior of the envelope or package, the claim does not arises
from the "negligent transmission” of mail and does not fall within

§ 2680(b). 3

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Second, the plaintiff's claim is not barred by § 2680(b),
which percludes claims "orising out of...misrepresentation..."
98 U.S.C. § 2680(b). He contends that bis claim is based on
operational, precommunication negligence. That is, if the USPS
bad not miscalculated the postage fees necessary for delivery
of the letter, plaintiff would not have missed the court filing
deadline. The Nonth Circuit in Mundy v United States, 983 F.2d.
950 (9th.Cir.1993) beld that, "the FTCA's misrepresentation exception
did not bar the claim because the claim "Focuse([d] on the
performance of an operational task--the processing of a requested
security clearance--rather than the communication of information."
Id, at 952. Crucially,.the Court noted that "the communication
was not a misrepresentation: the security clearance in fact had
been denied." Id. This case, by contrast ts "Eocuse[d] on the
performance of an operational task--[miscalculating the postage
fees] which resulted in missing the court filing deadline.

yo : ADMINISTRATIVE FTCA CLAIM

This court bas subject-matter jurisdiction over this matter
pursuant to Federal Rules of Civil Procedure Rule 12(b)(1) because
plaintiff bas exbausted bis administrative remedies by filing
a claim under FTCA. see attachments. Attached is a declaration
from Ronald Braun, Tort Claim Coordinator, Alaska District,
United States Postal Service.

Therefore, for the above -and foregoing reasons the: court

bas subject-matter jurisdiction over this matter.

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FACTS

On or about September 12, 2016, plaintiff submiited a letter
addressed to the united states district court for the District
of Alaska to institutional mailroom officials at the Federal
Correctional Institution Oxford, Oxford, Wisconsin for delivery.
On or about September 27, 2016, the letter was returned to bim
by the USPS with writing saying "postage due return to sender."
The next day the plaintiff re-sent tbe letter without adding
any additional postage fees, but the court ordered that he missed
the deadline for filing and dismissed the case.

Plaiintiff request damages in the amount indicated in the
Form 95 Claim for Damages against USPS, and for such otber and
further relief as may be just and equitable.

WHEREFORE, for the above and foregoing reasons the court
should grant the requested relief for reasons consistent witb

the above.

Respectfully pores this 20 day of February ,2019.
LAA ely
\_wYhomas M. Riley, Pro Se

Reg. No. 24186-04

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